Case 1:21-cr-00087-TJK Document 115 Filed 03/01/24 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
V.

Criminal Action No. 21-87-1 (TJK)

MICHAEL SPARKS,

Defendant.

VERDICT FORM

Please indicate your verdicts with a checkmark. Your verdict on each count must be
unanimous.

Count One: Obstructing an Official Proceeding and Aiding and Abetting
18 U.S.C. § 1512(c)(2) and 2

Not Guilty Guilty e

\

Count Two: Obstructing Officers During a Civil Disorder and Aiding and Abetting
18 U.S.C. § 231(a)(3) and 2

Not Guilty Guilty /

Count Three: Entering or Remaining in a Restricted Building or Grounds
18 U.S.C. § 1752(a)Q1)

Not Guilty. Guilty V

Count Four: Disorderly or Disruptive Conduct in a Restricted Building or Grounds
18 U.S.C. § 1752(a)(2)

Not Guilty Guilty
Case 1:21-cr-00087-TJK Document 115 Filed 03/01/24 Page 2 of 2

Count Five: Disorderly or Disruptive Conduct in a Capitol Building
40 U.S.C. § 5104(e)(2)(D)

Not Guilty Guilty \/

Count Six: _ Parading, Demonstrating, or Picketing in a Capitol Building
40 U.S.C. § 5104(e)(2)(G)-

Not Guilty Guilty VY

Date: Mavtir_\|_, 2024

~

Signature of Foreperson
